Case 1:18-cv-00950-LO-JFA Document 168 Filed 05/28/19 Page 1 of 3 PageID# 4330



                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


 SONY MUSIC ENTERTAINMENT, et al.,

                       Plaintiffs,

        v.                                               Case No. 1:18-cv-00950-LO-JFA

 COX COMMUNICATIONS, INC., et al.,

                      Defendants.

         DECLARATION OF DIANA HUGHES LEIDEN IN SUPPORT OF
      COX’S MOTION TO TAKE ADDITIONAL THIRD-PARTY DEPOSITIONS

I, Diana Hughes Leiden, hereby declare:

       1.      I am a partner with the firm of Winston & Strawn LLP, attorneys of record for

Defendants Cox Communications, Inc. and CoxCom, LLC (collectively, “Cox”). I submit this

declaration in support of Cox’s Motion for Leave to Take Additional Third-Party Depositions (the

“Motion”). I have personal knowledge of all facts stated in this declaration, and if called upon as

a witness, I could and would competently testify thereto.

       2.      On March 1, 2019, Cox served a document and deposition subpoena on Harbor

Labs seeking testimony relating to, among other topics, a 2013-2014 report undertaken for the

Center for Copyright Information (“CCI”) titled “Evaluation of the MarkMonitor AntiPiracy

System” (“Report”). Attached hereto as Exhibit 1 is a true and correct copy of the subpoena.

       3.      Over the course of several phone conversations in February and March 2019, Ann

Rubin, General Counsel for Harbor Labs, informed me that the President and Founder of Harbor

Labs, Dr. Aviel Rubin, had no knowledge of the Report or its contents, and that Harbor Labs would

be unable to designate a knowledgeable witness about the topics in the subpoena.

       4.      Ms. Rubin initially refused to disclose the identities of the individuals who were



                                                1
Case 1:18-cv-00950-LO-JFA Document 168 Filed 05/28/19 Page 2 of 3 PageID# 4331



involved with the Report.     After I conducted independent research, Ms. Rubin eventually

confirmed that it was prepared by Dr. Christopher Monson and Dr. Seth Nielson. Attached hereto

as Exhibit 2 is a true and correct copy of email correspondence between Ms. Rubin and me, dated

February 13, 2019 through March 8, 2019.

       5.      On April 2, 2019 Cox served document and deposition subpoenas on Dr. Monson

and Dr. Nielson.

       6.      Dr. Monson and Dr. Nielson both confirmed prior to the deposition that they were

involved with the Report.

       7.      Prior to the depositions, Drs. Monson and. Nielson did not produce any substantive

documents or communications relating to the Report.

       8.      Prior to the depositions, Harbor Labs did not provide any information that would

help Cox determine whether Dr. Monson or Dr. Nielson would be able to better testify about the

Report and the other noticed topics.

       9.      On April 16, 2019, Cox conducted two half-day depositions, one of Dr. Monson

and another of Dr. Nielson, in both of which the Plaintiffs asked questions.

       10.     Dr. Monson testified under questioning that Dr. Nielson was the primary drafter of

the scope of the engagement with CCI and deferred to Dr. Nielson’s expertise on a number of

topics within the Report, including those relating the peer-to-peer networks, BitTorrent, and the

security functions of the MarkMonitor system. Attached hereto as Exhibit 3 is a true and correct

copy of excerpts from Dr. Monson’s deposition.

       11.     Dr. Nielson testified that both he and Dr. Monson drafted the Report and that he

had knowledge of how peer-to-peer networks and BitTorrent systems worked based on his

education and professional experience. Attached hereto as Exhibit 4 is a true and correct copy of




                                                2
Case 1:18-cv-00950-LO-JFA Document 168 Filed 05/28/19 Page 3 of 3 PageID# 4332



excerpts from Dr. Nielson’s deposition.

       12.     On April 17, 2019 I received an email from Plaintiffs’ counsel stating that “Cox

ha[d] already taken two [depositions] (Monson and Nielsen [sic]), and has served deposition

subpoenas for six more (Stroz, Lesser, MarkMonitor, Audible Magic, RIAA, Vicky Sheckler).

Even apart from the Court’s limitation, scheduling these additional depositions would complicate

an already challenging schedule. Please let us know promptly which 3 of the remaining non-party,

non-expert depositions Cox intends to take so we can plan accordingly.” On April 18, 2019, I

emailed Plaintiffs’ counsel requesting that Plaintiffs stipulate to one additional non-party, non-

expert deposition. I also asked Plaintiffs’ counsel to confirm who the RIAA would designate in

response to Plaintiffs’ Rule 30(b)(6) notice, so that the parties could efficiently plan remaining

third-party depositions. Plaintiffs’ counsel insisted that the half-day depositions of Drs. Monson

and Nielsen should be considered two separate depositions despite the fact that Cox would have

taken one Rule 30(b)(6) deposition if they had still been employed by Harbor Labs. Nonetheless,

Plaintiffs would only stipulate to each side taking six third-party depositions. Attached hereto as

Exhibit 5 is a true and correct copy of the emails.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


       Executed this 10th day of May, 2019 in Los Angeles, California.


                                              /s/ Diana Hughes Leiden
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